73 F.3d 359NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Abel Parama BORROMEO, Defendant-Appellant.UNITED STATES of America, Plaintiff-Appellee,v.Abel Parama BORROMEO, Defendant-Appellant.
    Nos. 95-6354, 95-7621.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 14, 1995.Decided Jan. 2, 1996.
    
      Abel Parama Borromeo, Appellant Pro Se.  Michael Lee Keller, OFFICE OF THE UNITED STATES ATTORNEY, Charleston, West Virginia, for Appellee.
      Before ERVIN, Chief Judge, and WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying his 28 U.S.C. Sec. 2255 (1988) motions.  We have reviewed the record and the district court's opinions accepting the recommendations of the magistrate judge, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Borromeo, Nos.  CR-89-241;  CA-94-950;  CA-95-755-2 (S.D.W. Va.  Feb. 17, 1995 &amp; Sept. 27, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    